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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

WILLIAM J. FOLEY,

             Plaintiff,                                  Case No.: 2:11-cv-11856
v.                                                       Hon. Denise Page Hood
                                                         Mag. Michael J. Hluchaniuk

CITY OF WALLED LAKE, CAPTAIN J. ELLSWORTH,
DET. SCHNEIDER, P.O. ANTHONY NOBLE, P.O. SCOTT BOSLEY,
P.O. KENNETH AYERS, OAKLAND CNTY. DEPUTY JOHN JACOB,
VILLAGE OF WOLVERINE LAKE, KMG PRESTIGE, INC., JUDITH A.
LESTER, TAMI BASTIEN, MARCIA STEVENS, DEPUTY LARRY CATANZARO
SGT. BUFFA, DEPUTY R. CHATTERSON, OAKLAND CNTY. DET. K. HILLER
LAURA MASISEVICH, TRINITY HEALTH, KELLY GREEN, WALLED LAKE VILLA
APARTMENTS, JOHN DOES 1-10,

                              Defendants,
_______________________________________________________________________/
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                             SECOND AMENDED COMPLAINT

       Plaintiff, WILLIAM J. FOLEY, by undersigned counsel HUGH M. DAVIS of

Constitutional Litigation Associates, P.C. complaints pursuant to 42 U.S.C. §1983 for Violation

of Civil Rights, Conspiracy to Violate Civil Rights and Deprivation of Due Process of Law under

the First,    Fourth, Sixth and Fourteenth Amendments to the Constitution consisting of

deprivation of property, wrongful arrest and detention, excessive use of force, abuse of process,

malicious prosecution, intentional infliction of severe emotional distress, and retaliatory eviction,

as follows:

                                        INTRODUCTION

       Plaintiff, William J. Foley (FOLEY), is an 81-year old former Oakland County

Commissioner who has committed no crime and has no criminal record. However, he has been

arrested on now at least five (5) occasions in the last twelve (12) months. Most recently, he was

arrested on the charge of criminal trespassing at his own residence. On February 7, 2011, his

landlord (KMG Prestige, Inc.) decided it was too difficult to proceed through MCR 4.200

“Landlord-Tenant Proceedings”, and conspired with Captain J. Ellsworth (ELLSWORTH) and

the Walled Lake Police Department to deprive him of his property rights, and take away his

liberty, without due process of law and in violation of clearly established laws.

       Just six (6) months ago, another H.U.D.-funded senior living facility “Highland Haven”

conspired with the Oakland County Sheriff’s Department to summarily deprive FOLEY of his
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property and liberty rights without due process and in violation of clearly established law by

arresting and trying him on charges of “breach of the public peace” for nothing more than speech

and again at his own residence. Those charges were dismissed on directed verdict and the

prosecution’s own discovery demonstrated that it was on notice that a person could not be

charged with breach of peace in their own private residence.

                                 GENERAL ALLEGATIONS

       1.      This action arises under 42 USC 1983. Jurisdiction is conferred by 28 USC 1331

and 1343(3)(4). This action is also brought for pendent state law claims under MCL §691.1401

for which governmental immunity has been waived or does not apply and those claims arising

under common law. Pendent jurisdiction is conferred by 28 USC 1367.

       2.      Plaintiff William J. Foley (FOLEY) is a citizen of the United States and a resident

at 1035 Walled Lake Villa Drive, Unit 109, in the City of Walled Lake, County of Oakland,

Michigan at the time of filing this Complaint.

       3.      Defendant Captain J. Ellsworth (ELLSWORTH), Detective Paul Schneider

(SCHNEIDER), Officer Scott Bosley (BOSLEY), Officer Kenneth Ayres (AYERS) and Officer

Anthony Noble (NOBLE) are resident of Walled Lake, County of Oakland, Michigan and at all

times material were employed by the Walled Lake Police Department, the City of Walled Lake

and/or the Village of Wolverine Lake acting in their capacity as police officers under color of

state law. ELLSWORTH is being sued individually and in his official capacity.

       4.      Defendant Judith Lester (LESTER) is a resident of Lansing, Ingham County,

Michigan and at all times material was employed by KMG Properties (KMG) acting in the

course and scope of her employment.




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       5.      Defendant Tami Bastien (BASTIEN) and Marcia Stevens (STEVENS) are

residents of Walled Lake, County of Oakland, Michigan and at all times material were employed

by KMG acting in the course and scope of their employment.

       6.      Defendant KMG Properties, Inc. (KMG) is a domestic for profit corporation

doing business as “Walled Lake Villa Apartments” (WALLED LAKE VILLA) in the County of

Oakland, Michigan and having as its registered agent Paul Spencer at 102 S. Main Street in the

City of Mt. Pleasant, Michigan 48858.

       7.      Defendant Kelly Green (GREEN) is upon information and belief an employee of

both KMG and the Department of Housing and Urban Development (HUD) in a joint enterprise

and acting on their joint behalf at all times material to provide services to persons receiving

housing aid such as this Plaintiff and others.

       8.      Defendant City of Walled Lake (WALLED LAKE) is a municipal corporation

established under the Constitution of the State of Michigan of 1963, located in Oakland County,

responsible for establishing constitutionally lawful policies, customs and practices. WALLED

LAKE and its Acting Chief of Police ELLSWORTH are responsible of training, retention and

supervision of its police officers as well as for its own policies, practice and customs which led

to this complaint of violations.

       9.      Defendant, Highland Township (HIGHLAND) is a Michigan General Law

Township organized under Article VII, Section 14 of the Constitution of the State of Michigan,

located in Oakland County.

       10.     Defendant Village of Wolverine Lake (WOLVERINE LAKE) is a municipal

corporation established under the Constitution of the State of Michigan of 1963 and is

responsible for establishing constitutionally lawful policies, procedures, customs and practices.




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WOLVERINE employs the WALLED LAKE Police Department and its officers to carry out its

laws in a joint enterprise.

        11.     All actions brought against the municipal corporations are brought for causes of

action for which immunity has been waived in performance of governmental functions by

individual Defendants in the course their employment in their respective representative

capacities or for which no immunity is granted. They are independently liable for its policies,

practices and customs which lead to this complaint of violation.

        12.     Defendant Oakland County Deputy John Jacobs (JACOBS) is a resident of the

County of Oakland, Michigan and at all times was employed by the Oakland County Sheriff

Department.

        13.     Defendant Oakland County Deputy Larry Catanzaro (CATANZARO) is a

resident of the County of Oakland, Michigan and at all times was employed by the Oakland

County Sheriff Department.

        14.     Defendant Oakland County Deputy Chatterson (CHATTERSON) is a resident of

the County of Oakland, Michigan and at all times was employed by Oakland County Sheriff

Department.

        15.     Defendant Oakland County Deputy Hiller (HILLER) is a resident of the County

of Oakland, Michigan and at all times was employed by Oakland County Sheriff Department,

and the Charter Township of Highland in a joint enterprise.

        16.     Defendant Oakland County Sergeant Buffa (BUFFA) is a resident of the County

of Oakland, State of Michigan and at all times was employed by the Defendant Oakland County

and Oakland County Sheriff Department.




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       17.     Defendant OAKLAND COUNTY SHERIFF Hiller and OCSD Deputies John

Doe (1-10) are residents of the County of Oakland, Michigan and at all times were employed by

Oakland County Sherriff Department.

       18.     Defendant Trinity Health (TRINITY) is a foreign (Indiana) corporation doing

business as “Highland Haven” (HIGHLAND HAVEN) in the County of Oakland, Michigan,

having as its principal agent Agnes Hagerty, 34065 12 Mile Road, Farmington Hills, Michigan

48331. Defendant TRINITY is the property manager and operator of HIGHLAND HAVEN,

which is owned by HIGHLAND HAVEN Not for Profit corp and has as its registered agent

Kenneth Robbins 17410 College Parkway, Livonia, Michigan 48152.

       19.     Defendant Laura Maisevich (MAISEVICH) is a resident of the County of

Oakland, Michigan at all times pertinent hereto was acting within the course and scope of her

employment for and on behalf of TRINITY and HIGHLAND HAVEN.

       20.     That all of the acts complained of herein occurred within the named individual

defendants’ course and scope of employment and with respect to all police officers and deputies

were acts taken under color of law.

       21.     That no qualified immunity applies to any law enforcement agent as the violation

of the civil rights of the Plaintiff violated clearly established laws of which any reasonable police

officer should know; to wit, arresting a person for trespassing in their own residence, arresting a

person for breach of public peace in their own private residence, refusing to allow an

incarcerated person legal counsel based on an unconstitutional policy or practice, arresting a

person for violation of a personal protection order for being at home, 25-30 feet away from a

complainant who testified that no such occurrence ever existed, exacting an extrajudicial eviction

and seeking bond conditions to dispossess and evict, and arresting a person for attempting to




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obtain their personal belongings in compliance with an order of release, non-exclusively and

without limitation.

        22.     That each of the private Defendants, KMG, TRINITY, and HIGHLAND HAVEN

are vicariously liable for the acts of their employees acting in the course and scope of their

employment and acting in concert to violate the civil rights of the Plaintiff.

        23.     The acts of Defendants’, and each of them, were undertaken intentionally,

maliciously, wantonly, recklessly and callously, with disregard for Plaintiff’s rights and well-

being, entitling him to punitive damages under federal law and exemplary damages under state

law.

        24.     That all of the acts and occurrences herein occurred in or about Oakland County,

Michigan and all Defendants either reside or do business there, for which venue is properly

placed in the Southern Division of the United States District Court for the Eastern District of

Michigan pursuant to 28 USC 1391.

        25.     As a direct and proximate cause of the acts complained herein, Plaintiff suffered

compensatory damages of pain, suffering, mental anguish, emotional distress, fright, shock,

mortification, humiliation, loss of property, medical expenses, legal expenses, loss of enjoyment

of life and loss of liberty.

                               COMMON FACTUAL ALLEGATIONS

        26.     Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

        27.     Plaintiff (FOLEY) contacted attorney Donald Sullivan (SULLIVAN) in early

January 2010 about an ongoing MDEQ (Michigan Department of Environmental Quality)

investigation into contaminated drinking water at his H.U.D.-assisted facility, Highland Haven,

managed and operated by TRINITY.

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       28.     Plaintiff discovered that HIGHLAND HAVEN had for over ten (10) years been

cited and was in nearly continuous violation of the safe water drinking regulations of the MDEQ.

       29.     FOLEY raised the issue with Defendant MAISEVICH, who grew infuriated that

the MDEQ once again in late November 2009 placed HIGHLAND HAVEN on a “boil water”

restriction following FOLEY’s complaints.

       30.     FOLEY contacted HUD (Mark Dominic) and others in reference to a rent

abatement on his behalf and on behalf of other federally-subsidized tenants with whom he sought

to form a tenants union, but was ignored despite the merit of his complaint.

       31.     MAISEVICH and an assistant who has a close relationship with JACOBS, an

Oakland County Sheriff Deputy, and under the direction of TRINITY and HIGHLAND

HAVEN, thereupon plotted and conspired against FOLEY to incriminate, deprive him of his

liberty and deprive him of his leasehold estate without due process of law.

       32.     MAISEVICH, her assistant, its attorneys and Sheriff Deputies JACOBS,

CATANZARO, HILLER and CHATTERSON thereupon undertook the collection of false,

disparaging boiler-plate affidavits claiming that FOLEY should be summarily evicted since he

was a nuisance.

       33.     MAISEVICH, her assistant, its attorneys, and the Oakland County Sheriff

Deputies JACOBS, CATANZARO, HILLER and CHATTERSON undertook to squelch and

chill FOLEY’s speech and his freedom to associate with others.

       34.     MAISEVICH concocted numerous false, misleading and disparaging statements

against FOLEY from tenants under the threat of their own eviction if they did not state that

which she required of them.




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       35.     MAISEVICH had used similar tactics against a former tenant (Mr. Owens) by

using similar boiler-plate affidavits when attempting to evict him, showing a pattern and practice

of illegal behavior.

       36.     SULLIVAN was in the process of pleading a Complaint for Retaliatory Eviction

and Discriminatory Housing Practices when FOLEY was served with an eviction notice which

was clearly retaliatory.

       37.     MAISEVICH and her attorneys were rebuffed during the eviction proceeding

because their complaint was baseless, of their prior use of incredible affidavits and they had for

several months refused to accept FOLEY’s rent checks in an attempt to provide an additional

basis to evict for non-payment.

       38.     MAISEVICH, her assistant and Oakland County Sheriff Deputies JACOBS,

CATANZARO, HILLER and CHATTERSON counseled another tenant (Claudia Boehner) to

obtain an ex-parte order of personal protection (PPO) against FOLEY to effectively force him

out of the complex, which was baseless and should have been denied when it was filed.

       39.     Ms. Boehner (not a party hereto at this time) had used the PPO procedures before

against her own husband and was the perfect candidate. She initially denied that she had the

PPO procedure previously, but later changed her testimony on April 9, 2010 during a formal

hearing.

       40.     Oakland County Sheriff Deputy JACOBS was observed by the court-appointed

defense attorney for FOLEY giving legal advice and coaching the testimony of Claudia Boehner

in concert with MAISEVICH and her assistant, which was reported to SULLIVAN when he

appeared at an allegation of a violation of that order.

       41.     FOLEY was surprised when he was first served with the PPO that he was given

no opportunity to contest. Thereafter, Claudia Boehner walked past him in the common area and

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he merely said, “I guess I’m not allowed to speak with you.” FOLEY was immediately arrested

by Oakland County Sheriffs Deputy JACOBS and others, but at the hearing was not found to

have intentionally committed a criminal violation of that order, only a technical civil violation.

       42.     Largely unsuccessful again in her attempts to take away the liberty of FOLEY and

while he was still in possession of his premises, JACOBS, MAISEVICH, and her assistant

sought further assistance from CHATTERSON and HILLER to try again to incriminate FOLEY

for two (2) more baseless claimed violations of the PPO.

       43.     FOLEY was chased around Oakland County like a violent criminal (he still as of

this date has no criminal history), subjected to excessive force and arrested without probable

cause by Deputy CATANZARO.

       44.     FOLEY was jailed on Good Friday and was transported to Pontiac Osteopathic

Hospital when he was ordered to be held on bond for nothing more than what was found to be a

technical violation by Judge Fred Mester. FOLEY was initially denied medical treatment in the

Oakland County Jail and only after appearing in a tragic condition before Judge Mester was his

care given.

       45.     BUFFA then denied jail visitation to FOLEY by his long-time attorney, Fred

Lauck, claiming that it was the policy of the jail that only the attorney of record on a case could

visit an inmate. Oakland County has apologized and admitted its wrongdoing in that matter.

       46.     Only by the grace of Mrs. Sommerville at pre-trial services was FOLEY released

from jail before the Easter Holiday. Yet once again he was dispossessed of his leasehold estate

by the concerted efforts of MAISEVICH, her assistant, Boehner, JACOBS, CANTANZARO,

CHATTERSON, HILLER and others by arresting FOLEY for “breach of peace” at his own

residence, which was later dismissed.




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       47.     The hearing April 9, 2010 on those violations did not go well for Defendants, who

had one violation summarily dismissed and got merely a technical violation on another. FOLEY

was again restored to his right of possession.

       48.     After having failed to elicit any testimony at all of one violation for which he was

charged and which was investigated by CHATTERSON and HILLER and only getting a $150.00

civil violation on the other, MAISEVICH, and the Oakland County Sheriff Deputies were again

undeterred.

       49.     FOLEY was again confronted and arrested at his own residence just three (3) days

later for allegedly causing a “breach of the public peace.” This was, despite the fact that it

occurred in a private residence and the Sheriff’s own discovery during the PPO hearings showed

that they knew such charges were unlawful, as was his arrest for merely speech in a private

residence.

       50.     That case, in which the prosecutor’s discovery suspiciously failed to include the

very laws and legal citations showing it was an unlawful charge (provided to SULLIVAN during

the PPO hearing) was dismissed on directed verdict as a matter of law.

       51.     During this process, in which FOLEY was being subjected to constant attempts to

incriminate him and being arrested on three (3) separate occasions, he sought refuge at the

WALLED LAKE VILLA, another H.U.D. funded complex in Oakland County.

       52.     For several months, FOLEY observed that numerous and serious safety code

violations were occurring, such as non-maintenance and disrepair of elevators which caused

residents to be routinely stranded. He made those observations known to HUD.

       53.     Again, the management of the H.U.D.funded facility grew irate that FOLEY

would raise his concerns to H.U.D. and undertook to build a case against FOLEY to have him

evicted.

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       54.    KMG, STEVENS, BASTIEN, and its corporate counsel, LESTER, immediately

began to disrupt FOLEY’s access to H.U.D. service coordinators and contacted HIGHLAND

HAVEN to find out how it was able to get rid of FOLEY.

       55.    KMG and its management Marcia STEVENS continually called WALLED

LAKE to get them to investigate FOLEY from November 2010 through February 7, 2011, when

they somehow convinced ELLSWORTH and WALLED LAKE to arrest him for criminal

trespass. ELLSWORTH

       56.    On January 28, 2011, BASTIEN, acting in concert with and taking a cue from

MAISEVICH’s plan of attack, outlined clearly what had been done and what they intended to do

in a lengthy memorandum.

       57.     SULLIVAN and FOLEY simply awaited the eviction proceedings and were

surprised by LESTER’s contention that she could summarily evict FOLEY on a “7-Day

Hazardous Health Condition Notice.”

       58.    KMG, LESTER and BASTIEN also attempted to initiate an eviction complaint on

a “7 Day Notice of Hazardous Condition” in the 52-1 District Court on February 8, 2011, but the

Hon. Robert Bondy refused to sign such a writ.

       59.    On January 31, 2011, FOLEY was disallowed further use of the H.U.D.

coordinators. STEVENS refused to accept FOLEY’s rent check on February 3, 2011.

       60.    KMG, STEVENS, BASTIEN, and LESTER were on notice of FOLEY’s

representation. Yet they made direct contact with him on February 5, 2011, with an Oakland

County Sheriff and attempted to evict him solely on the baseless “7-Day Health Hazard Notice.”

       61.    Unsuccessful and admitting that she “was frustrated and didn’t know what to do”,

LESTER counseled STEVENS to make a criminal complaint of trespass against FOLEY with




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the WALLED LAKE, which was clearly a violation of established law, but for which he was

arrested and dispossessed of his leasehold.

       62.     After two (2) days of being constantly harassed by the supposed head of

maintenance, “Fred” (who threatened repeatedly to “take (him) outside”), FOLEY went to

WALLED LAKE on February 7, 2011, and asked to speak with the captain for some relief and

acknowledgment of his right of occupancy. He was told ELLSWORTH would come to his

residence. When he did, ELLSWORTH said he had “had enough” and arrested FOLEY for

“trespass” and seizing FOLEY’S truck.

       63.     When he was arrested on February 7, 2011, FOLEY was throttled and injured by

the arresting officers AYERS, SCHNEIDER and ELLSWORTH of WALLED LAKE in an

excessive use and display of force, causing harm and severe emotional distress. FOLEY was

taking a fellow resident to dialysis when this occurred.

       64.     FOLEY was again arrested when on February 10, 2011, he tried to obtain his

medicine and personal belongings as he was allowed to do in the order of release from his 2/7/11

arrest. Again, he was severely throttled and injured by the arresting officers BOSLEY, NOBLE

and AYRES of WALLED LAKE in an excessive use and display of force, causing harm and

severe emotional distress.

                        COUNT I: VIOLATION OF CIVIL RIGHTS
                        PURSUANT TO TITLE 42 U.S.C. SEC. 1983

       65.     Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

       66.     In committing the acts complained of herein, Defendants acted under color of

state law to deprive Plaintiffs of certain constitutionally protected rights under the First, Fourth,

Sixth and Fourteenth Amendments to the Constitution of the United States of America, including

but not limited to: (i) the right to be free from unreasonable searches and seizures; (ii) the right
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not to be deprived of liberty or property without due process of law; (iii) the right to be free from

arrest or detention in the absence of probable cause; (iv) the right to be free from excessive use

of force by persons acting under color of state law; (v) the right to just compensation for taking

of property; (vi) the right to free speech and association on matters of public concern; (vii) the

right to be free from malicious prosecution; and (viii) denial of access to counsel.

       67.      In violating the Plaintiff’s rights delineated above, Defendants acted under color

of state law and conducted unauthorized, warrantless searches and seizures, unlawful stops,

unlawful arrests, denial of legal counsel, the right to a fair trial, used excessive force, violated the

right to free speech, retaliated for the exercise of free speech, and set into motion the chain of

events leading to deprivation of liberty and property without due process of law in violation of

Plaintiff’s rights under the First, Fourth, Sixth and Fourteenth Amendments to the United States

Constitution.

       68.      As a direct, natural and proximate result of the violation of his constitutional

rights by the Defendants, Plaintiff suffered general and special damages as alleged in the

Complaint for which he is entitled to compensatory and punitive damages and attorneys fees

under 42 U.S.C. Sec. 1983.

            COUNT II: VIOLATION OF CIVIL RIGHTS UNDER TITLE 42 U.S.C.
          1983MUNICIPAL LIABILITY (FAILURE TO IMPLEMENT APPROPRIATE
                       POLICIES, CUSTOMS AND PRACTICES)

       69.      Plaintiff restates and incorporates each preceding paragraph.

       70.      Defendants WALLED LAKE, Acting Chief of Police ELLSWORTH,

WOLVERINE, and HIGHLAND, implicitly or explicitly, adopted and implemented careless and

reckless policies, customs or practices that included, among other things, allowing law

enforcement officers to make criminal purely civil matters, refusing to allow jailed inmates

visitation by legal counsel, removing documents contained in the investigative file showing the

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absence of a legal basis to convict to defense counsel, refusing to give public records when

properly requested, failing to require probable cause for an arrest, failing to train officers on the

law so as to avoid violation of clearly established laws such as charging a person for a crime

against the public in a private residence or trespassing in their own home condoning excessive

force and conspiring with private parties to violate said rights.

       71.      The failure of WALLED LAKE, HIGHLAND, WOLVERINE and Acting Chief

ELLSWORTH and others to adequately train and supervise their officers, and others amounts to

deliberate indifference to the right of the Plaintiff to be free from unlawful arrest, excessive

force, and wrongful detention under the Fourth and Fourteenth Amendments to the Constitution.

       72.      The actions of Defendant ELLSWORTH, as the chief law enforcement officer of

WALLED LAKE and WOLVERINE, creates municipal liability for them.

       73.      As a result of this deliberate indifference to the Plaintiff’s clearly established

rights, he has suffered personal injuries, economic and non-economic damages, the loss of

property rights and other general and specific damages recoverable under 42 U.S.C. 1983.

        COUNT III: VIOLATION OF CIVIL RIGHTS 42 U.S.C. 1983 (FALSE ARREST)

       74.      Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

       75.      In committing the acts complained of herein, Defendants ELLSWORTH,

WALLED LAKE, CATANZARO, CHATTERSON, HILLER, JACOBS, SCHNEIDER,

AYRES and others acted under color of state law by falsely arresting and detaining the Plaintiffs

with no basis in fact or law to do so. In violating the Plaintiff’s right to be free from false arrest,

the Defendant violated the Plaintiff’s right under the Fourth and Fourteenth Amendment to the

Constitution.




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       76.     As a direct, natural and proximate result of those acts, the Plaintiffs civil rights

were denied under color of law and he suffered personal injury and general and specific damages

recoverable under 42 U.S.C. 1983 in addition to attorney fees and punitive damages for their

collective and singular reckless indifference of those rights.

         COUNT IV: VIOLATION OF CIVIL RIGHTS 42 U.S.C. 1983 (DEPRIVATION
                 OF PROPERTY WITHOUT DUE PROCESS OF LAW)

       77.     Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

       78.     Defendants ELLSWORTH, JACOBS, SCHNEIDER, AYERS, CHATTERSON,

CATANZARO and other unknown Walled Lake Police Officers and Oakland County Sheriff

Deputies in concert with other defendants, intentionally, maliciously, and wantonly disregarded

the Plaintiffs property rights and amounted to deprivation of property in violation of the Fourth

and Fourteenth Amendments by evicting him from his leasehold and seizing his van.

       79.     As a direct, natural and proximate result of those acts, the Plaintiffs civil rights

were denied under color of law and he suffered personal injury and general and specific damages

recoverable under 42 U.S.C. 1983 in addition to attorney fees and punitive damages for their

collective and singular reckless indifference of those rights pursuant to 42 USC § 1988.

          COUNT V: SUPERVISORY LIABILITY; 42 U.S.C. 1983 DEPRIVATION OF
              FIRST, FOURTH and FOURTEENTH AMENDMENT RIGHTS

       80.     Plaintiff restates and incorporates each preceding paragraph.

       81.     Defendant WALLED LAKE Acting Chief of Police ELLSWORTH implicitly or

explicitly adopted and implemented careless and reckless policies, customs, or practices, that

included, among other things, retaliation for speech, petition for redress of grievances, successful

exercise of access to the courts, allowing law enforcement officers to make criminal purely civil

matters, failing to require probable cause for an arrest, failing to train officers on the law so as to

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avoid violation of clearly established laws such as charging a person for a crime against the

public in a private residence, or trespassing in their own home among other things non-

exclusively.

       82.     The failure of the Acting Chief ELLSWORTH, WALLED LAKE, HIGHLAND,

WOLVERINE, and others to adequately train and supervise the Defendants Deputies and Officer

and others amounts to deliberate indifference to the right of the Plaintiff to be free from

retaliation, unlawful arrest, excessive force, deprivation of liberty and property without due

process of law, and wrongful detention under the First, Fourth and Fourteenth Amendments to

the Constitution.

       83.     As a result of this deliberate indifference to the Plaintiff’s clearly established

rights, he has suffered personal injuries, economic and non-economic damages, the loss of

property rights and other general and specific damages recoverable under 42 U.S.C. 1983,

including punitive damages and attorneys’ fees pursuant to 42 USC 1988.

          COUNT VI: VIOLATION OF 42 U.S.C. 1983 (MALICIOUS PROSECUTION)

       84.     Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

       85.     That despite its knowledge of the absence of probable cause of the commission of

a crime in light of the known facts and laws available to them, Defendants ELLSWORTH,

JACOBS,        CHATTERSON,          CATANZARO,          HILLER,       AYERS,        SCHNEIDER,

BOSLEY,NOBLE and other Oakland County Sheriffs with wanton and reckless indifference,

retaliatory, intent and actual or implied malice, initiated and continued prosecution of criminal

complaints against the Plaintiff which have been or will be dismissed for their failure as a matter

of law in violation of the First, Fourth and Fourteenth Amendments.




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       86.     The Defendants acts and each and every one of them are not afforded any form of

qualified immunity in that they violated clearly established rights which a reasonable police

officer should have been aware.

       87.     That ELLSWORTH, SCHNEIDER and WALLED LAKE on February 28, 2011

threatened to continue prosecuting FOLEY for additional unlawful charges if he did not submit

to an extra-legal eviction.

       88.     As a direct, natural and proximate result of those acts, the Plaintiffs civil rights

were denied under color of law and he suffered personal injury, general and specific damages

recoverable under 42 U.S.C. 1983 and 42 U.S.C. 1988 in addition to punitive damages for their

malicious prosecution and reckless indifference of those rights.

                            COUNT VII: 42 U.S.C. 1983 AND 1988
                         (CONSPIRACY TO VIOLATE CIVIL RIGHTS)

       89.     Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

       90.     Plaintiff has a right to be free from retaliatory eviction on the basis of his exercise

of free speech and his attempts to associate with others.

       91.     That the Defendants, KMG, WALLED LAKE VILLA, TRINITY, HIGHLAND

HAVEN, MAISEVICH, STEVENS, BASTIEN, LESTER, and others unknown to Plaintiff did

undertake a conspiracy and acted in concert with the other Defendants and other public officials

to retaliate against Plaintiff for his exercise of protected speech and association in an effort to

dispossess the Plaintiff of his liberty and property rights.

       92.     As a direct, natural and proximate result of those acts, the Plaintiffs civil rights

were denied under color of law and he suffered personal injury, general and specific damages

recoverable under 42 U.S.C. 1985 and 42 U.S.C. 1988 and punitive damages for their collective

and singular reckless indifference of those rights.
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            COUNT VIII: PENDENT STATE LAW CLAIMS UNDER THE MICHIGAN
            GOVERNMENTAL TORT LIABILITY AND IMMUNITY STATUTE MCL
                                  §691.1401 ET. SEQ.


        93.     Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

        94.     That certain acts engaged in by governmental officials are not subject to

governmental immunity under the Eleventh Amendment to the Constitution of the United States

or have been specifically waived by the Michigan Governmental Immunity Act, namely acts of

false imprisonment, conversion, assault and battery.

                                     A. FALSE ARREST

        95.     Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

        96.     FOLEY was arrested by JACOBS and others after merely commenting to another

resident, while in a common area at HIGHLAND HAVEN, “I guess I’m not allowed to speak

with you.”

        97.     FOLEY was arrested by CATANZARO for a claimed civil violation of a PPO.

        98.     FOLEY was arrested by JACOBS, CANTANZARO, CHATTERSON, HILLER,

and others for allegedly breaching the public peace while inside his own residence.

        99.     FOLEY was arrested by AYERS, SCHNEIDER, and ELLSWORTH of

WALLED LAKE on February 7, 2011 for allegedly “trespassing” at his own residence.

        100.    FOLEY was arrested by BOSLEY, NOBLE, and AYERS of WALLED LAKE on

February 10, 2011 for allegedly “trespassing” at his own residence.

        101.    FOLEY was aware of each of the above arrests and each arrest was made against

his will.



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       102.    Each arrest was unlawful insofar as the officers lacked probable cause to believe

that FOLEY had committed a crime.

       103.    That as a direct and natural result of those acts of the above-named Defendants,

the Plaintiff did suffer serious personal injuries, general and specific, compensatory and

exemplary, damages recoverable at law.

                                 B. FALSE IMPRISONMENT

       104.    Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

       105.    FOLEY was falsely and intentionally imprisoned, against his will, by

CATANZARO and BUFFA when he was jailed on Good Friday, depriving FOLEY of his

personal liberty and freedom of movement.

       106.    CATANZARO and BUFFA accomplished the imprisonment by actual physical

force or by an express or implied threat of force.

       107.    FOLEY’s imprisonment was unlawful, insofar as he was alleged to have done

nothing more than commit a technical civil violation of a PPO, not a criminal violation.

       108.    That as a direct and natural result of those acts of the above-named Defendants,

the Plaintiff did suffer serious personal injuries, general and specific, compensatory and

exemplary, damages recoverable at law.

                             C. COMMON-LAW CONVERSION

       109.    Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

       110.    ELLSWORTH and WALLED LAKE wrongfully exerted dominion over

FOLEY’s personal property when they seized FOLEY’s truck incident to falsely arresting

FOLEY on February 7, 2011.

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       111.    FOLEY made a reasonable attempt to recover his truck.

       112.    FOLEY's reasonable attempt to recover his truck was refused by ELLSWORTH,

WALLED LAKE or their agents.

       113.    That as a direct and natural result of those acts of the above-named Defendants,

the Plaintiff did suffer serious personal injuries, general and specific, compensatory and

exemplary, damages recoverable at law.

                             D. STATUTORY CONVERSION

       114.    Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.

       115.    ELLSWORTH and WALLED LAKE received, possessed, concealed, or aided in

the concealment of FOLEY’s truck, when they seized FOLEY’s truck incident to falsely

arresting him on February 7, 2011.

       116.    At that time, ELLSWORTH and WALLED LAKE knew that they had wrongfully

exerted dominion over FOLEY’s truck.

       117.    The actions of ELLSWORTH and WALLED LAKE in seizing FOLEY’s truck

violated MCL 600.2919a, entitling FOLEY to treble damages.

       118.    That as a direct and natural result of those acts of the above-named Defendants,

the Plaintiff did suffer serious personal injuries, general and specific, compensatory and

exemplary, damages recoverable at law.

                               E. ASSAULT AND BATTERY

       119.    Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.




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       120.    JACOBS, in falsely arresting FOLEY for a technical civil violation of a PPO,

unlawfully directed force toward FOLEY, creating a well-founded apprehension of imminent

contact, as well as actually causing the harmful or offensive touching of FOLEY.

       121.    CATANZARO, in falsely arresting FOLEY for a technical civil violation of a

PPO, unlawfully directed force toward FOLEY, creating a well-founded apprehension of

imminent contact, as well as actually causing the harmful or offensive touching of FOLEY.

       122.    JACOBS, CATANZARO, CHATTERSON, HILLER and others, in falsely

arresting FOLEY for a “breach of peace” at his own residence, unlawfully directed force toward

FOLEY, creating a well-founded apprehension of imminent contact, as well as actually causing

the harmful or offensive touching of FOLEY.

       123.    AYERS, SCHNEIDER, and ELLSWORTH, in falsely arresting FOLEY for

“trespass” at his own residence, unlawfully directed force toward FOLEY, creating a well-

founded apprehension of imminent contact, as well as actually causing the harmful or offensive

touching of FOLEY.

       124.    BOSLEY, NOBLE, and AYERS, in falsely arresting FOLEY for “trespass” at his

own residence, unlawfully directed force toward FOLEY, creating a well-founded apprehension

of imminent contact, as well as actually causing the harmful or offensive touching of FOLEY.

       125.    That as a direct and natural result of those acts of the above-named Defendants,

the Plaintiff did suffer serious personal injuries, general and specific, compensatory and

exemplary, damages recoverable at law.

              F. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       126.    Plaintiff restates and incorporates each preceding paragraph as though fully

restated herein.




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        127.   The concerted acts of MAISEVICH, JACOBS, CATANZARO, HILLER, AND

CHATTERSON, and each of them, including but not limited to:

    A) obtaining false, misleading, and disparaging affidavits regarding FOLEY,

    B) counseling other residents to obtain baseless PPOs against FOLEY,

    C) giving legal advice and coaching the testimony of other residents regarding FOLEY’s

        alleged violations of such PPOs, and

    D) twice conspiring to have FOLEY unlawfully arrested for “breach of peace” at his own

        residence

for the purpose of chilling FOLEY’s speech and attempting to evict him from his residence

constituted extreme and outrageous conduct.

        128.   These concerted acts were done with the intent to cause FOLEY severe emotional

distress, or alternatively, with reckless disregard for the likelihood that such acts would cause

FOLEY severe emotional distress.

        129.   These concerted acts directly and proximately caused FOLEY severe emotional

distress.

        130.   The concerted acts of STEVENS, BASTIEN, LESTER, AYERS, SCHNEIDER,

BOSLEY, NOBLE and ELLSWORTH, and each of them, including making false criminal

trespass complaints, falsely arresting FOLEY for “trespassing” in his own residence, and using

excessive force to effectuate those arrests constituted extreme and outrageous conduct.

        131.   These concerted acts were done with the intent to cause FOLEY severe emotional

distress, or alternatively, with reckless disregard for the likelihood that such acts would cause

FOLEY severe emotional distress.

        132.   These concerted acts directly and proximately caused FOLEY severe emotional

distress.

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       133.    That as a direct and natural result of those acts of the above-named Defendants,

the Plaintiff did suffer serious personal injuries, general and specific, compensatory and

exemplary, damages recoverable at law.



          COUNT IX: VIOLATION OF MCL §600.5720- RETALIATORY EVICTION
                          AND BREACH OF CONTRACT

       134.    Plaintiff restates and incorporates by reference each preceding allegation.

       135.    That the Defendants KMG and TRINITY’s Plaintiff’s tenancy were breaches of

contract in violation of MCL §600.5720.

       136.    The Defendant is required to follow this law:

  Sec. 5720. (1) A judgment for possession of the premises for an alleged termination of tenancy

shall not be entered against a defendant if 1 or more of the following is established:

 (a) That the alleged termination was intended primarily as a penalty for the defendant's attempt

to secure or enforce rights under the lease or agreement or under the laws of the state, of a

governmental subdivision of this state, or of the United States.

 (b) That the alleged termination was intended primarily as a penalty for the defendant's

complaint to a governmental authority with a report of plaintiff's violation of a health or safety

code or ordinance.

 (c) That the alleged termination was intended primarily as retribution for a lawful act arising

out of the tenancy, including membership in a tenant organization and a lawful activity of a

tenant organization arising out of the tenancy.

       137.    As a consequence of the Defendant KMG’s threatened eviction, and Trinity and

Highland Haven’s eviction based on the Plaintiff’s report to H.U.D. of habitability and safety

concerns such as unmaintained elevators and water contamination to the MDEQ, state, local and

tenant groups, is in violation of law and repudiates the lease agreement.
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       138.    As a further consequence, the Plaintiff has incurred unnecessary legal fees and

consequential damages as a result of this breach of contract and retaliatory eviction.



                          COUNT X: INTENTIONAL INFLICTION
                          OF EXTREME EMOTIONAL DISTRESS

       100.    Plaintiff restates and incorporates by reference each of the preceding paragraphs

as though fully restated herein.

       101.    None     of    the       governmental   Defendants   ELLSWORTH,           SYPRETT,

CHATTERSON, HILLER, CATANZARO, BUFFA, or other agents of the Oakland County

Sheriff Department, Walled Lake Police Department, or HUD are in their personal capacity are

immune for acts of extreme and outrageous conduct or intentional infliction of extreme

emotional distress made in bad faith.

       102.    No governmental immunity exists to insulate the Defendant County, Township,

Village or Municipalities for the acts complained of herein against the Defendants above in their

representative capacity as they could not have reasonably believed that they were acting within

the scope of authority, nor that their actions were made in good faith.

       103.    As a direct and proximate result of the acts, Plaintiff has suffered damages,

compensatory and exemplary.



                                    PRAYERS FOR RELIEF

       WHEREFORE, Plaintiff FOLEY prays for the following relief:

       1.      That judgment be entered in favor of the Plaintiff and against the Defendants on

all causes of action asserted herein.

       2.      That the Plaintiff be awarded damages (compensatory, punitive and exemplary) to

which it may appear that he is entitled by the proof submitted in this cause.
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       3.      That Plaintiff be awarded reasonable attorney fees, expenses, costs and expert

witness fees pursuant to 42 U.S.C. 1988(b) and (c).



                                                Respectfully submitted,


                                                _s/Hugh M. Davis_____________________
                                                HUGH M. DAVIS (P12555)
                                                Counsel for Plaintiff
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                                                conlitpc@sbcglobal.net


Dated: January 30, 2012


                                          JURY DEMAND


       Plaintiff requests a jury for all issues in this case.



                                                Respectfully submitted,


                                                _s/Hugh M. Davis_____________________
                                                HUGH M. DAVIS (P12555)
                                                Counsel for Plaintiff
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Dated: January 30, 2012




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                                           CERTIFICATE OF SERVICE


        I hereby certify that on ________________, I electronically filed Plaintiff’s Second
Amended Complaint along with this Certificate of Service with the Clerk of the Court for the
Eastern District of Michigan using ECF system which will send notification of such filing to the
following registered participants of the ECF system as listed on the Court’s Notice of Electronic
Filing:

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                                                                         ____s/Jillian Rosati______________
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